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                                    UNITED STATES DISTRICT COURT
                                                                    for the
                                                       Middle District of Georgia

                  United States of America
                             v.                                       )
                                                                      )   Case No:       5:19-CR-50-001 (MTT)
                         Keon Hendley                                 )
                                                                      )   USM No: 01463-120
Date of Original Judgment:         12/10/2020                         )
Date of Previous Amended Judgment: N/A                                )   Jessica M. Lee
(Use Date of Last Amended Judgment if Any)                                Defendant’s Attorney

                ORDER REGARDING MOTION FOR SENTENCE REDUCTION
                   PURSUANT TO 18 U.S.C. § 3582(c)(2) (Amendment 821)
         Upon motion of ☐ the Defendant ☐ the Director of the Bureau of Prisons ☒ the Court
under 18 U.S.C. § 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range
that has subsequently been lowered and made retroactive by Amendment 821 to the United States Sentencing Guidelines,
and having considered such motion, and taking into account the policy statement set forth at USSG §1B1.10 and the
sentencing factors set forth in 18 U.S.C. § 3553(a), to the extent that they are applicable,
IT IS ORDERED that the motion is:
           ☐ DENIED. ☒ GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
the last judgment issued) of      200          months is reduced to                 180                  .
                                           (Complete Parts I and II of Page 2 when motion is granted)
The defendant was originally sentenced to a total term of imprisonment of 200 months after pleading guilty to Distribution of Cocaine,
in violation of 21 U.S.C. §§ 841(a)(1) and (b)(1)(C) (Count Two), and Possession of Firearms by a Convicted Felon, in violation of 18
U.S.C. §§ 922(g)(1) and 924(a)(2) (Count Four). When sentenced, the defendant’s subtotal criminal history score was two (2). As he
was under a criminal justice sentence at the time the instant offense was committed, two (2) points were added, yielding a total criminal
history score of four (4) and Criminal History Category of III.

However, retroactive Amendment 821, Part A, of the United States Sentencing Guidelines reduces criminal history status points to one
(1) point for defendants with seven (7) or more criminal history points; defendants with fewer than seven (7) criminal history points
do not receive any additional points. Therefore, under the retroactive amendment, the defendant would not receive any points for being
under a criminal justice sentence, his total criminal history score would be two (2), his Criminal History Category would be II, and his
guideline sentencing range would be 168 to 210 months. The defendant’s original 200-month sentence was 12 months above the lower
end of the applicable guideline range of 188 to 235 months. The government concurs that the defendant is eligible for relief and
recommends a sentence in the middle of the amended range.

The Court hereby GRANTS the motion and reduces the imprisonment portion of the defendant’s sentence to 180 months, 12 months
above the lower end of the amended guideline range, on Count Two and 120 months on Count Four to be served concurrently to each
other, for a total term of imprisonment of 180 months. The sentence shall run consecutively to any term of imprisonment imposed in
Bibb County Superior Court Case No. 14CR70545 for violation of probation.
Except as otherwise provided, all provisions of the judgment dated                December 10, 2020 shall remain in effect.
IT IS SO ORDERED.

Order Date:                 6/25/2024                                                       S/ Marc. T. Treadwell
                                                                                                 Judge’s signature


Effective Date:                                                                    Marc T. Treadwell, U.S. District Judge
                   (if different from order date)                                            Printed name and title
